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                    UNITED STATES DISTRICT COURT
                    EASTERN DISTRICT OF MICHIGAN
                         SOUTHERN DIVISION

  TIMOTHY KING, et al.,

                  Plaintiffs,
  v.                                               Case No. 20-13134
                                                   Honorable Linda V. Parker
  GRETCHEN WHITMER, et al.,

                 Defendants,

  and

  CITY OF DETROIT,
  DEMOCRATIC NATIONAL
  COMMITTEE and MICHIGAN
  DEMOCRATIC PARTY, and
  ROBERT DAVIS,

            Intervenor-Defendants.
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                                      ORDER

        Each attorney whose name appears on any of Plaintiffs’ pleadings or briefs

shall be present at the motion hearing set for July 6, 2021 at 2PM.

        IT IS SO ORDERED.

                                               s/ Linda V. Parker
                                               LINDA V. PARKER
                                               U.S. DISTRICT JUDGE
 Dated: June 17, 2021
